08-13555-mg        Doc 98-3     Filed 09/18/08 Entered 09/18/08 14:04:06             Certificate of
                                       Service Pg 1 of 1



UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                              :       Chapter 11
                                              :
In re:                                        :       Case Nos. 08-13555 (JMP)
                                              :
LEHMAN BROTHERS HOLDINGS                      :       (Jointly Administered)
INC., et. al.,                                :
                                              :
                                              :
                               Debtor.        :
                                              :

                                 CERTIFICATE OF SERVICE

         I, Eduardo J. Glas, hereby certify that on September 18, 2008, I caused a true and correct

copy of the foregoing Objection to Debtors’ Motion to (A) Schedule a Sale Hearing; (B)

Establish Sales Procedures; (C) Approve a Break-Up Fee; and (D) Approve the Sale of the

Purchased Assets and the Assumption and Assignment of Contracts Relating to the

Purchased Assets [D.I. # 60] to be served upon the parties in the following service list as

indicated.



                                              /s/ Eduardo J. Glas
                                              Eduardo J. Glas, Esquire (# EG7027)
                                              McCARTER & ENGLISH, LLP
                                              245 Park Avenue
                                              27th Floor
                                              New York, New York 10167
                                              (212) 609-6800 - Telephone
                                              (212) 609-6921 - Facsimile
                                              eglas@mccarter.com

Dated: September 18, 2008




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